              Case 1:19-cv-04429-VSB Document 33 Filed 04/21/20 Page 1 of 1
                                                                                  Zachary N. Leeds, Partner
                                                                                         Tel: 212.356.0243
                                                                                         Fax: 646.473.8243
                                                                                          zleeds@cwsny.com
                                                                                             www.cwsny.com


                             900 Third Avenue  New York, NY 10022-4869


                                            April 21, 2020


By ECF

Honorable Vernon S. Broderick, U.S.D.J.
United States District Court
Southern District of New York
40 Foley Square, Courtroom 518
New York, New York 10007

               Re:    Recycling and General Industrial Union Local 108 Welfare Fund et al. v.
                      Donato Marangi, Inc. et al., No. 19-CV-04429 (VSB)

Dear Judge Broderick:

           This firm represents plaintiffs in this matter. I write to advise that defendants have
consented to the two-month extension that plaintiffs requested yesterday.

               Thank you for your consideration.

                                                      Respectfully Submitted,

                                                      /s/ Zachary N. Leeds

cc:         Counsel of Record (by ECF)




3044273.1
